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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :     Case No. 23-cr-160-RC
               v.                                     :
                                                      :
DANIEL BALL,                                          :
                                                      :
               Defendant.                             :


                                 NOTICE OF APPEARANCE

       The United States of America, by and through its undersigned counsel, the United States

Attorney for the District of Columbia, hereby informs the Court that Trial Attorney Michael L.

Jones, detailed to the U.S. Attorney’s Office for the District of Columbia, is entering his

appearance in this matter on behalf of the United States.



                                                     Respectfully submitted,


                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052

                                                     /s/ Michael L. Jones
                                                     MICHAEL L. JONES
                                                     DC Bar No. 1047027
                                                     Trial Attorney
                                                     Capitol Riot Detailee
                                                     U.S. Attorney’s Office
                                                     District of Columbia
                                                     (202) 252-7820
                                                     michael.jones@usdoj.gov
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                               CERTIFICATE OF SERVICE

       On this 16th day of May 2023, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                                   /s/ Michael L. Jones
                                                   Michael L. Jones
                                                   Trial Attorney




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